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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Colleen Conko, et al. JUDGE FALLON

Vv.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

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Docket No. 2:05-cv-06546

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Colleen Conko, individually and as
executrix of the estate of June Herriman, in the above-captioned case be and they hereby are
dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
